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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 Andrea Rihl,                             : Civil Action
                                          :
                                Plaintiff : No.
                                          :
 v.                                       :
                                          : Jury Trial Demanded
 The Walt Disney Company and Kristopher :
 Lawrence,                                :
                                          :
                             Defendants :

                                          COMPLAINT

                                          Introduction

       1.       Plaintiff Andrea Rihl (Rihl) is suing her employer, The Walt Disney Company

(Disney), and its Employee Relations professional, Kristopher Lawrence (Lawrence), for disability

discrimination and retaliation for engaging in protected activity.

       2.       Rihl brings her case under the Americans with Disabilities Act of 1990, as amended,

42 U.S.C.A. § 12101 et seq. (ADAAA) and the Pennsylvania Human Relations Act, 43 P.S. § 951 et

seq. (PHRA).

       3.       Rihl seeks back pay, reinstatement or front pay, loss of earnings capacity,

compensatory damages, punitive damages (under the ADAAA), interest, negative tax consequence

damages, injunctive relief, and attorney’s fees and costs.

                                    Jurisdiction And Venue

       4.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343 and

the ADAAA. Furthermore, Defendants’ conduct violated the PHRA and the pendant jurisdiction

of this Court is invoked to remedy those violations.




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       5.        All jurisdictional prerequisites to bringing this action have been satisfied because:

                 (a)    On June 14, 2023, Rihl dual-filed a timely Charge of Discrimination with

       the Equal Employment Opportunity Commission (EEOC) and the Pennsylvania Human

       Relations Commission (PHRC) (Charge No. 530-2023-06257), which alleged disability

       discrimination and retaliation in violation of the ADAAA and the PHRA.

                 (b)    On August 1, 2023, the EEOC issued a “Notice of Your Right to Sue” for

       Charge No. 530-2023-06257.

                 (c)    On October 23, 2023, Rihl dual-filed a timely Charge of Discrimination

       with the EEOC and the PHRC (Charge No. 530-2024-00560), which alleged disability

       discrimination and retaliation in violation of the ADAAA and the PHRA.

                 (d)    On October 27, 2023, the EEOC issued a Notice of Right to Sue for Charge

       No. 530-2024-00560.

       6.        Venue is proper as Rihl worked remotely for Disney from her home Doylestown,

Pennsylvania, which is located in the Eastern District of Pennsylvania.

                                             The Parties

       7.        Rihl is an adult individual who resides in Doylestown, Pennsylvania.

       8.        Disney is an American multinational mass media and entertainment conglomerate

that is headquartered at the Walt Disney Studios complex in Burbank, California.

       9.        Upon information and belief, Disney employs over 220,000 employees.

       10.       At all relevant times, Lawrence was an employee in Disney’s Employee Relations

department.

       11.       At all material times hereto, Disney acted through its employees, agents,

representatives and/or servants who were acting within the course and scope of their employment

and authority.


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                                     Factual Background

                                  Rihl’s Career with Disney

       12.      In October 1999, Rihl began her career with Disney as a Sr. National Sales

Coordinator, DR Account Representative for ABC National Television Sales in Philadelphia,

Pennsylvania.

       13.      As Sr. National Sales Coordinator, DR Account Representative, Rihl managed the

daily maintenance of regional business for ABC Owned Television Station Group and political

sales with focus on the Philadelphia, Raleigh-Durham, Fresno, San Francisco, and Los Angeles

markets; successfully developed and maintained direct response sales for the Philadelphia National

Sales office; and facilitated relationships between Account Executives, advertising agencies, and

station personnel with regard to all core business activity in conjunction with Regional Sports

Television Networks and the Live Well Network.

       14.      Rihl worked as Sr. National Sales Coordinator, DR Account Representative until

December 2016 when she transitioned to Digital Media Sales Planning for Disney Advertising

Sales in New York, New York.

       15.      As Digital Media Sales Planning, Rihl counseled Sales teams in the development &

preparation of creative and strategic omni-channel digital proposals for presentation to advertising

agencies and clients in negotiations for regional and political business opportunities; delivered on

full-cycle campaign management from proposal development through implementation as an

expert in pre and post-sale campaign initiatives; analyzed inventory trends with account

management and inventory teams to measure campaign effectiveness and impact on designated

target audiences; collaborated with Senior Leadership to create new policy & pricing strategy for

distribution across sales teams; communicated effectively with sales and management across the

Disney Portfolio educating teams on guidelines; updated, policy & planning strategy for all digital


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capabilities; and represented the local division of Disney Advertising Sales throughout the

planning, building & execution stages of the most recent Company-wide order system migration

process.

       16.      During Rihl’s time as a senior member of Digital Media Sales Planning, Rihl also

assisted the VP, Sales in managing a team of 4 planners, assisted with interviewing candidates and

on-boarding new employees, worked with leadership to create a new Planning Management role

in our department (role existed across other brands but not in Local), and collaborated with

leadership teams across brands (representing the Local division) on a company operating system

migration.

       17.      Rihl commuted to New York, New York from her home in Doylestown,

Pennsylvania until around March 2020 when Disney transitioned the Digital Media Sales Planning

to remote work.

       18.      Following the transition to remote work, Rihl performed her job duties for Disney

from her home in Doylestown, Pennsylvania.

             Rihl is Injured in a Sledding Accident and Diagnosed with a TBI;
                           Rihl Takes a Medical Leave of Absence

       19.      On February 7, 2021, Rihl was involved in a sledding accident in which she

sustained a head injury.

       20.      As a result of injuries sustained in the sledding accident, Rihl had to take a medical

leave of absence beginning February 21, 2021.

       21.      In June 2021, Rihl was diagnosed with a traumatic brain injury (TBI).

       22.      Rihl is disabled within the meaning of the ADAAA because she has a physical or

mental impairment that substantially limits one of more major life activities, including performing




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manual tasks, seeing (vision), eating, sleeping, walking, standing, balance, lifting, bending,

speaking, learning, reading, concentrating, thinking, communicating.

       23.      On August 23, 2021, Rihl provided Lawrence with a letter from her neurologist

that disclosed her medical diagnosis and treatment.

                 Rihl Returns to Work with Approved Accommodations

       24.      On February 10, 2022, Rihl provided Lawrence with a letter from her medical

provider that stated that Rihl was “medically cleared to resume work” on February 28, 2022 with

two restrictions—Rihl needed to work remotely and Rihl needed to work 9:00 a.m. to 1:00 p.m.

EST. Rihl’s medical provider’s letter notes that Rihl would be re-evaluated on July 8, 2022.

       25.      Remote work was required because Rihl was unable to commute from her home in

Doylestown, Pennsylvania to New York City due to her TBI symptoms.

       26.      Notably, throughout the pandemic, aside from the period of Rihl’s medical leave,

Rihl successfully performed her job duties remotely, as did other team members.

       27.      The modified work schedule enabled Rihl to attend medical therapy sessions in the

afternoons.

       28.      Although cleared to return to work on February 28, 2022, Disney was unprepared

for Rihl’s return and placed Rihl on unpaid two-week administrative leave.

       29.      On numerous occasions, Rihl reached out to Lawrence who was unsure about

Rihl’s return, where Rihl would be going, and what Rihl would be doing. Lawrence never

informed Rihl of where she would be returning to work.

       30.      Rihl first learned that she was returning to a different position when Aliyah

Cromwell (Cromwell), her new manager, reached out to set up a meeting.

       31.      Rihl had no idea who Cromwell is and had to ask Lawrence. Lawrence was not

responsive and just kept telling Rihl that the business was discussing and would let her know.


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       32.      Disney also failed to reinstate Rihl’s healthcare coverage.

       33.      Eventually, in September 2022, Disney retroactively reinstated Rihl’s healthcare

coverage to February 1, 2022; however, this mistake resulted in Rihl receiving bills for February

and March 2022 healthcare coverage.

       34.      To date, Rihl still receives Disney invoices after she sent notice with returned checks

stating that these are now payroll deductions.

       35.      On March 14, 2022, Rihl returned to work with the accommodations set forth in

her medical provider’s February 10, 2022 letter.

       36.      Although Disney had updated Rihl’s return to work to March 10, 2022, Rihl had

no direction on her new role until she met with Cromwell on March 14, 2022.

       37.      During this meeting, Cromwell told Rihl that she would be placed on a new hire

program/training period with periodic meetings set up to train on new processes and policy.

       38.      Most of these trainings were scheduled after 1:00 p.m. EST.

       39.      Since Rihl’s accommodation provided that she needed to work 9:00 a.m. to 1:00

p.m. EST, Rihl was unable to attend these trainings.

       40.      Cromwell told Rihl that she did not have to attend the trainings and that she could

just ask questions or set up another time to meet with the “specialist team.”

       41.      Although Rihl asked, she was never told who was on the “specialist team.”

       42.      When Rihl returned from medical leave, Disney placed her in a new role working

on the Agency side of the business, including the brand additions like Hulu.

       43.      Prior to Rihl’s leave of absence, she worked on a completely different side of the

business (Local).

       44.      Moving to another side of the business would require additional support and

instruction for any employee, not just an employee with a TBI.


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       45.      After returning to work, Cromwell instructed Rihl to “assist the planners only” and

“not interact with sales.”

       46.      Rihl also discovered that certain changes had been made to certain processes. No

one informed Rihl of these changes, which resulted in several challenges for Rihl, including:

                (a)    There were numerous restructuring episodes during the year of Rihl’s

       medical leave, which were ongoing.

                (b)    There are new teams with new policy and processes.

                (c)    Rihl did not know who to reach out to for collaboration. No one ever

       introduced Rihl to her fellow team members.

                (d)    Rihl was unable to understand what was needed because she was assigned

       tasks without any background information or direction.

                (e)    Rihl could not efficiently complete tasks without appropriate knowledge of

       new process.

                (f)    Rihl was not permitted to ask questions or answer questions when

       approached for assistance. Rihl was instructed to loop Cromwell into correspondence so

       that she could address Rihl’s questions.

                (g)    Rihl constantly had to reach out for direction due to the lack of

       communication.

                (h)    Communication was difficult since Rihl was matched with sales teams

       located on the West Coast even though Rihl’s accommodation limited her hours to 9:00

       a.m. to 1:00 p.m. EST.

                (i)    People reaching out to Rihl for assistance were unaware that her hours were

       limited to 9:00 a.m. to 1:00 p.m. EST, so they constantly reached out to Rihl at all hours




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       of the day and night, often asking for a response “ASAP.” This was particularly an issue

       with West Coast colleagues.

                (j)    Rihl never received a clear list of people that she was told to work with. Rihl

       was told that she would be working with two separate teams (Category & WPP), but never

       received a clear list of people she could expect to reach out.

                (k)    When Rihl approached Cromwell about the aggressive nature of requests

       and her workload and consistent requests to complete before “logging off,” Cromwell told

       Rihl that this was not “the norm” and that these requests usually did not require this much

       attention but should die down once the current task was completed.

                (l)    Rihl’s email address was not changed from ABC to Disney.

                (m)    Rihl was never notified when changes to her role occurred. Rihl discovered

       changes when she would see an increase in requests for assistance. When Rihl approached

       management, Rihl was told, “it should be fine.”

                (n)    Rihl addressed these issues with Cromwell; however, they continued.

       47.      On July 8, 2022, Rihl provided Lawrence with a letter from her medical provider,

which reiterated Rihl’s clearance to work with the accommodations set forth in her medical

provider’s February 10, 2022 letter. The letter also notes that the TBI Clinic would reevaluate

Rihl’s symptoms and work accommodations in six months.

       48.      On October 24, 2022, Rihl spoke with Lawrence regarding her accommodations.

During this conversation, Rihl explained, in part:

                (a)    Rihl’s medical provider requested that her accommodations remain in place

       until January 8, 2023 when the medical provider would review her health status.




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                 (b)      Rihl explained all of her current challenges to Lawrence to help clarify the

        need for the accommodations being requested, including blurry vision, processing/focus,

        severe migraines, etc.

                 (c)      Cromwell and Rihl had discussed increasing her workload on a trial basis

        given her limitations caused by the TBI, specifically, cognitive/processing issues, severe

        migraines, sensitivity to light, and vision issues.

                 (d)      Cromwell and Rihl planned to revisit the workload increase on a weekly

        basis to see if changes needed to be made so that Rihl could continue to successfully perform

        her job duties.

        49.      During this conversation, Lawrence indicated that Rihl’s accommodations posed a

“hardship,” but failed to provide any example.

        50.      Rihl told Lawrence that she would consider alternative accommodations if her

accommodations posed a “hardship.”

        51.      On October 24, 2022, Rihl also followed up with Lawrence by email to recap this

conversation.

        52.      On December 9, 2022, Rihl received her FY22 Disney Advertising Management

by Objectives summary (Disney Ad Sales FY22 MBO). Rihl received an Overall MBO Score of

75.0.

        53.      Cromwell made some inaccurate statements in Rihl’s Disney Ad Sales FY22 MBO,

most notably:

                 (a)      “Andrea attended Planner DAS160 training / She can get overwhelmed

        with newer pricing and planning strategies / Some of the newer strategies proved

        challenging”




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                 (b)    “This foundational knowledge will also be helpful as you work more

        independently to make decisions and provide solutions to campaign issues / how a planner

        can help to drive innovation”

        54.      Also on December 9, 2022, Rihl received her Disney Ad Sales FY2022 Incentive

Award Award Calculation Worksheet for Annual Performance, which shows a FY2022 final

payout of $4,702.00. Disney also increased Rihl’s base salary from $82,001.51 to $83,436.51,

which represented a $1,435.00 merit increase.

        55.      On December 16, 2022, Rihl provided Lawrence with a letter from her medical

provider, which states that Rihl had “a follow up visit on 1/23/2023 with Dr. Schneider” to

reevaluate her symptoms and work accommodations. The letter also reiterated Rihl’s clearance to

work with the accommodations set forth in her medical provider’s February 10, 2022 letter.

        56.      On December 15, 2022 and December 22, 2022, Rihl met with Cromwell to discuss

the Disney Ad Sales FY22 MBO.

        57.      During this meeting, Rihl told Cromwell that, in her opinion, Disney’s Diversity,

Equity, & Inclusion team has not made it clear that education about disabilities is also an important

part of maintaining an inclusive culture and that there was a continued lack of training, group

meetings/events, sessions and information available with regard to employees who live with a

disability.

        58.      On December 16, 2022, Rihl addressed her concerns with Cromwell’s statements

in her Disney Ad Sales FY22 MBO.

        59.      On December 22, 2022, Cromwell responded to Rihl’s email, only to connect her

with Lawrence.

        60.      Cromwell also directed Rihl to join groups (BErGS) that educated employees about

disability in the workplace.


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       61.     On December 16, 2022, Disney Leaves team requested that Rihl provide an

updated letter from her medical provider.

       62.     On January 11, 2023, Samantha Spendlove (Spendlove), a Disney Asset Recovery

Analyst, emailed Rihl and requested that she return a device, which was a second laptop/screen.

       63.     Rihl responded to Spendlove and explained that she “had submitted a note

requesting to keep the second laptop/screen for medical reasons. I am recovering from a traumatic

brain injury and have difficulty with vision, processing. Having two separate screens as opposed to

having to navigate between windows (when multiple tasks are required for my role) has been

helpful.”

 Disney Chooses to No Longer Accommodate Rihl, Refuses to Discuss Alternative
        Accommodations, and Forces Rihl on an Unpaid Leave of Absence

       64.     On January 16, 2023, Rihl provided Lawrence with a letter from Dr. Schneider,

which states that Rihl has been under the TBI Neurology team’s care “since 6/4/21 for

management of consequences of a traumatic brain injury.”

       65.     Dr. Schneider’s letter also informed Disney of continued work accommodations

that Rihl needed in order to perform her essential job duties, which included remote work, limited

work hours work hours (M-F 9a-1p EST) to accommodate her medical treatment, detailed and

concise directions/instructions for her work assignment, direct notification of any policy or work

process changes, 48hrs minimum allotment for completion of all assigned work tasks/projects, and

limited and gradual workload changes based on understanding and reporting of ongoing medical

progress.

       66.     Dr. Schneider’s letter also informed Disney that Rihl had “a follow up visit

scheduled for 4/14/23 at which point we will re-evaluate her ongoing symptoms & continued

progress, as well as provide any updates to these work accommodations.”



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          67.   On January 23, 2023, Rihl spoke with Lawrence regarding Dr. Schneider’s January

16, 2023 letter.

          68.   During this conversation, Lawrence asked Rihl when her accommodations were

ending.

          69.   Lawrence also told Rihl that Disney needed to justify her full time pay and that part

time was managing 1-2 accounts.

          70.   Rihl explained to Lawrence that she was responsible for 6+ accounts.

          71.   Rihl also explained, in part, that the “additional accommodations” in Dr.

Schneider’s January 16, 2023 letter were new additions to the letter, but not to the business. Upon

returning from Rihl’s leave of absence, Rihl discussed the “additional accommodations” with

Cromwell. Although Rihl reiterated these “additional accommodations” to Cromwell, she

generally dismissed them.

          72.   Rihl further explained that the “additional accommodations” did not reflect her

“understanding of the job” as she had been a member of Disney’s sales divisions for 23 years.

          73.   The “additional accommodations” are not unreasonable and would benefit all

employees, not just Rihl.

          74.   Rihl needed short breaks during her workday to step away from her computer;

however, Lawrence told Rihl there was a concern that she was taking breaks as a salaried employee.

          75.   Prior to Rihl’s injury, she commuted to the office. On most days, Rihl was not asked

to perform a full time workload.

          76.   During this conversation, Lawrence told Rihl that Disney “could not approve these

accommodations forever” and that “it had already been a year.”

          77.   On January 23, 2023, Rihl also followed up with Lawrence by email to recap this

conversation.


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       78.     Every time Rihl spoke with Lawrence, her workload increased.

       79.     On January 30, 2023, Lawrence informed Rihl that Disney would no longer honor

her accommodations.

       80.     Lawrence claimed—without any explanation—that Rihl’s accommodations were a

“hardship” and that Disney was legally allowed to place Rihl back on medical leave.

       81.     Rihl attempted to explore alternative accommodations, including transferring to

another position or cutting to a part-time position; however, Lawrence told Rihl that Disney would

not offer her any other accommodations and that she would be put on a medical leave of absence.

       82.     On February 3, 2023, Disney placed Rihl on an involuntary medical leave of

absence from February 6, 2023 to March 14, 2023.

       83.     To date, Rihl remains on an unpaid involuntary medical leave of absence.

                           Rihl Files a Charge of Discrimination

       84.     As alleged above, on June 14, 2023, Rihl dual-filed a timely Charge of

Discrimination with the EEOC and the PHRC (Charge No. 530-2023-06257), which alleges

disability discrimination and retaliation in violation of the ADAAA and the PHRA.

       85.     Rihl’s Charge of Discrimination alleges, in part, that:

               (a)    Disney revoked Rihl’s reasonable accommodations and refused to discuss

       alternative accommodations.

               (b)    Disney placed Rihl on an involuntary medical leave of absence from

       February 6, 2023 to March 14, 2023.

               (c)    To date, Rihl remains on an unpaid involuntary medical leave of absence.

               (d)    Rihl wants to return to work and is able to perform the essential functions

       of her position with reasonable accommodations.

               (e)    Rihl has been applying for other positions at Disney.


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Rihl Applies for Open Positions at Disney; Disney Rejects Rihl for These Positions

        86.     Since August 10, 2023, Rihl has applied for over 20 positions at Disney, all of which

Rihl is qualified for based on Rihl’s work experience with Disney.

        87.     On August 24, 2023, Rihl had a phone interview with Erica Johnston (Johnston)

for a Manager, Pricing & Planning position.

        88.     During this interview, Rihl told Johnston that she is currently on a company

mandated medical leave because her accommodations were not able to be met.

        89.     Johnston asked Rihl about her accommodations.

        90.     Rihl told Johnston that she was looking for a remote position but would be able to

commute to the office when needed.

        91.     Johnston told Rihl that the position she was interviewing for was on site, but that

Disney had a few Planning Specialist positions available, one that just posted yesterday, and that

were remote eligible.

        92.     Johnston told Rihl that she wanted to send Rihl the link for the Planning Specialist

positions and that once Rihl applied for the position, Johnston would discuss Rihl’s resume with

the hiring manager and be in touch if they were interested in interviewing Rihl for the role.

        93.     Johnston told Rihl that even though the job post states the Planning Specialist

position is on site, the Planning Specialist position is a remote eligible position.

        94.     Johnston reiterated that once Rihl applied for the Planning Specialist position, she

would pull Rihl’s resume for the hiring manager.

        95.     On August 24, 2023, Johnston sent Rihl the link to apply for one of the open

Planning Specialist positions.

        96.     On August 28 2023, Rihl applied for the open Planning Specialist positions. Rihl

was more than qualified for this position based on Rihl’s work experience with Disney.


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        97.     On or about August 31, 2023, Disney removed the postings for the Planning

Specialist positions.

        98.     On September 20, 2023, Rihl applied for a Sr. Manager, Social Media Customer

Support position. Rihl was more than qualified for this position based on Rihl’s work experience

with Disney.

        99.     On October 17, 2023, Rihl spoke with Kelly McGuire (McGuire), Disney’s

recruiter, about the Sr. Manager, Social Media Customer Support position.

        100.    McGuire started the conversation with Rihl by stating that there has been an

“interesting update just within the past few days” and then stated the Sr. Manager, Social Media

Customer Support position had initially been posted as remote, but the recruiting team has been

instructed by HR to pull the posting and repost it as “an in office only” role.

        101.    McGuire stated that it was explained that this was due to team dynamics but

recruitment is not necessarily privy to why these decisions are made.

        102.    McGuire stated that candidates for the Sr. Manager, Social Media Customer

Support position will now be required to reside in either San Monica or San Antonio — if someone

is open to relocation, they would consider that.

                                   Disney’s Legal Violations

        103.    Rihl is disabled under the ADAAA and PHRA due to the TBI.

        104.    Rihl is disabled under the ADAAA and PHRA because Disney regarded her as

disabled or because Rihl has a record of a disability.

        105.    At all relevant times, Rihl was qualified for her position and was able to perform

the essential functions of her position with an accommodation.

        106.    Rihl informed Disney of her condition and requested reasonable accommodations.




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        107.    There were available accommodations that would have been effective and would

not have posed an undue hardship to Disney.

        108.    Disney failed to reasonably accommodate Rihl’s requests regarding her disability.

        109.    Disney revoked Rihl’s reasonable accommodations and refused to discuss

alternative accommodations.

        110.    Disney forced Rihl on an unpaid leave of absence due to disability discrimination

(actual disability, record of disability, regarded as disabled), and/or retaliation for requesting

reasonable accommodations.

        111.    Rihl is qualified for or overqualified for all of the positions that Rihl has applied for

at Disney since August 10, 2023 based on Rihl’s work experience with Disney.

        112.    Disney has rejected Rihl for all of the positions that Rihl has applied for since

August 10, 2023 due to disability discrimination (actual disability, record of disability, regarded as

disabled), and/or retaliation for requesting reasonable accommodations and/or for filing a Charge

of Discrimination.

        113.    Disney’s actions have caused Rihl significant financial loss, as well as emotional

distress, career damage, loss of earnings capacity, mental anguish, humiliation, embarrassment,

and loss of dignity.

        114.    Rihl wants to return to work and is able to perform the essential functions of her

position with reasonable accommodations.




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                                         Count I
                      Disability Discrimination (ADAAA and PHRA)

       115.    Paragraphs 1-114 are incorporated by reference as if fully set forth herein.

       116.    The acts, failures to act, practices and policies of Defendants set forth above

constitute disability discrimination (actual disability, regarded as disabled, record of disability,

failure to provide reasonable accommodations) and violate the ADAAA and PHRA.

       117.    Lawrence is sued individually under the PHRA (and not under the ADAAA)

because Lawrence aided and abetted Disney’s discriminatory conduct against Rihl.

       WHEREFORE, Rihl respectfully requests this Court:

       A.      Issue a Declaratory Judgment declaring that Defendants’ actions as set forth in this

Complaint are unlawful and violate the ADAAA and PHRA.

       B.      Issue equitable/injunctive relief including:

               (1)     Issue preliminary and permanent injunctions enjoining and restraining

       Defendants, their officers, agents, employees, and those acting in participation with

       Defendants, from engaging in any act or practice of harassment, discrimination, and/or

       retaliation against employees in violation of the ADAAA and PHRA.

               (2)     Order Disney to provide training to all employees on harassment,

       discrimination, and retaliation prevention and related compliance under the ADAAA and

       PHRA—with the training specifics to be tailored to the problems, deficiencies, and gaps

       that the evidence shows.

               (3)     Order Disney to deliver to its employees a copy of the jury verdict and trial

       court judgment.




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               (4)     Order Disney to report on the manner of compliance with the terms of any

       final order for non-monetary equitable relief issued under the ADAAA and PHRA—with

       the reporting specifics to be tailored based on the evidence.

               (5)      Order Disney to reinstate Rihl upon such terms and conditions as will put

       Rihl in the position she would have occupied had Defendants not unlawfully discriminated

       against her.

       C.      Enter judgment in favor of Rihl and against Defendants for back pay, including

wages and fringe benefits.

       D.      Enter judgment in favor of Rihl for front pay in lieu of reinstatement.

       E.      Enter judgment in favor of Rihl and against Defendants for compensatory damages

for emotional distress, career damage, loss of earnings capacity, mental anguish, humiliation,

embarrassment, and loss of dignity.

       F.      Enter judgment in favor of Rihl and against Disney for punitive damages, as

allowable by law.

       G.      Award Rihl reasonable attorney’s fees together with the costs of this action.

       H.      Award Rihl pre-judgment and post-judgment interest.

       I.      Enter judgment in favor of Rihl for any other monetary losses as a direct result of

Defendants’ violation of the ADAAA and PHRA, including but not limited to negative tax

consequence damages.

       J.      Award such other and further legal and equitable relief as may be necessary and

appropriate to redress fully the deprivation of Rihl’s rights, to prevent their recurrence in the future

and to protect other employees from such unlawful behavior.




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                                         COUNT II
                         Disability Retaliation (ADAAA and PHRA)

       118.    Paragraphs 1-117 are incorporated by reference as if fully set forth herein.

       119.    The acts, failures to act, practices and policies of Defendants set forth above

constitute disability retaliation (including retaliatory firing) in violation of the ADAAA and PHRA.

       120.    Lawrence is sued individually under the PHRA (and not under the ADAAA)

because Lawrence aided and abetted Disney’s retaliatory conduct against Rihl.

       WHEREFORE, Rihl respectfully requests this Court:

       A.      Issue a Declaratory Judgment declaring that Defendants’ actions as set forth in this

Complaint are unlawful and violate the ADAAA and PHRA.

       B.      Issue equitable/injunctive relief including:

               (1)     Issue preliminary and permanent injunctions enjoining and restraining

       Defendants, their officers, agents, employees, and those acting in participation with

       Defendants, from engaging in any act or practice of harassment, discrimination, and/or

       retaliation against employees in violation of the ADAAA and PHRA.

               (2)     Order Disney to provide training to all employees on harassment,

       discrimination, and retaliation prevention and related compliance under the ADAAA and

       PHRA—with the training specifics to be tailored to the problems, deficiencies, and gaps

       that the evidence shows.

               (3)     Order Disney to deliver to its employees a copy of the jury verdict and trial

       court judgment.

               (4)     Order Disney to report on the manner of compliance with the terms of any

       final order for non-monetary equitable relief issued under the ADAAA and PHRA—with

       the reporting specifics to be tailored based on the evidence.



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               (5)      Order Disney to reinstate Rihl upon such terms and conditions as will put

       Rihl in the position she would have occupied had Defendants not unlawfully retaliated

       against her.

       C.      Enter judgment in favor of Rihl and against Defendants for back pay, including

wages and fringe benefits.

       D.      Enter judgment in favor of Rihl for front pay in lieu of reinstatement.

       E.      Enter judgment in favor of Rihl and against Defendants for compensatory damages

for emotional distress, career damage, loss of earnings capacity, mental anguish, humiliation,

embarrassment, and loss of dignity.

       F.      Enter judgment in favor of Rihl and against Disney for punitive damages, as

allowable by law.

       G.      Award Rihl reasonable attorney’s fees together with the costs of this action.

       H.      Award Rihl pre-judgment and post-judgment interest.

       I.      Enter judgment in favor of Rihl for any other monetary losses as a direct result of

Defendants’ violation of the ADAAA and PHRA, including but not limited to negative tax

consequence damages.

       J.      Award such other and further legal and equitable relief as may be necessary and

appropriate to redress fully the deprivation of Rihl’s rights, to prevent their recurrence in the future

and to protect other employees from such unlawful behavior.

                                           Jury Demand

       Rihl demands a jury to try all claims triable by jury.




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                                    Respectfully submitted,


Dated: October 30, 2023             ______________________________
                                    Stephanie J. Mensing
                                    PA ID No. 89625
                                    Mensing Law LLC
                                    1515 Market Street, Suite 1200
                                    Philadelphia, PA 19102
                                    (215) 586-3751; (215) 359-2741 fax
                                    stephanie@mensinglaw.com
                                    Attorney for Plaintiff




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